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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 IN RE GREENSKY SECURITIES LITIGATION               Case No. 18-cv-11071 (AKH)




                             DECLARATION OF IAN M. RUEGG

       I, Ian M. Ruegg, New Jersey Fund Director of the Northeast Carpenters Annuity Fund

(“Northeast Carpenters”), one of the Court-appointed Lead Plaintiffs in this securities class action

(the “Action”), hereby declare under penalty of perjury as follows:

       1.      I am the New Jersey Fund Director of Northeast Carpenters. Included in my

responsibilities is the oversight and supervision of litigation that occurs on behalf of Northeast

Carpenters, including managing Northeast Carpenters’ relationships with outside counsel. I submit

this declaration in support of (a) Lead Plaintiffs’ motion for approval of the proposed Settlement;

and (b) Co-Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation

Expenses, and reimbursement of Lead Plaintiffs’ expenses.

       2.      I am aware of and understand the requirements and responsibilities of a lead

plaintiff in a securities class action as set forth in the Private Securities Litigation Reform Act of

1995 (“PSLRA”).

       3.      I have personal knowledge of the matters set forth in this Declaration, as I have

been directly involved in monitoring and overseeing the prosecution of the Action, and I could and

would testify competently thereto.

       4.      Northeast Carpenters is a $2 billion annuity fund operated on behalf of construction

professionals in the Northeast.
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         5.    By Order dated March 29, 2019, the Court appointed Northeast Carpenters as one

of the Lead Plaintiffs in the Action. In fulfillment of our responsibilities as Lead Plaintiff, and on

behalf of all members of the Class, I have supervised the prosecution of this Action and

participated in the negotiations that ultimately led to the proposed Settlement currently before the

Court.

         6.    Since being appointed as Lead Plaintiff in March 2019, Northeast Carpenters has

devoted substantial time and energy in discharging its duties as a Lead Plaintiff. On behalf of

Northeast Carpenters, I have, among other things: (i) regularly communicated with Co-Lead

Counsel regarding the posture and progress of the Action; (ii) reviewed and/or discussed all

significant pleadings and motions filed in the Action; (iii) given extensive deposition testimony;

(iv) searched for, reviewed, and produced documents requested by Defendants; (v) reviewed

and/or discussed significant decisions in the Action, including the decisions to mediate and settle

the case; and (vi) actively participated in the mediation that led to the Settlement.

         7.    Based upon our good faith assessment of the strengths and weaknesses of the

Class’s claims, Northeast Carpenters strongly endorses approval of the Settlement by the Court.

Based on our involvement throughout the prosecution and resolution of the Action, Northeast

Carpenters decided to enter into the proposed Settlement. Northeast Carpenters did so with an

appreciation of the strengths and weaknesses of our claims against Defendants and the hurdles the

Class would have been required to overcome in order to prove liability and the full amount of

damages at trial.

         8.    Based on the foregoing, Northeast Carpenters believes that the Settlement

represents an excellent recovery for the Class in the face of substantial litigation risks.
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Accordingly, Northeast Carpenters strongly recommends approval of the Settlement as fair,

reasonable, and adequate.

       9.      Northeast Carpenters takes seriously its role as a Lead Plaintiff to ensure that the

attorneys’ fees are fair in light of the result achieved for the Class and reasonably compensate Co-

Lead Counsel for the work involved and the substantial risks they undertook in litigating the

Action. Northeast Carpenters has evaluated Co-Lead Counsel’s fee request by considering the

work performed and by considering the substantial recovery obtained by the Class.

       10.     Northeast Carpenters believes that Co-Lead Counsel’s application for attorneys’

fees of 25% of the Settlement Fund, plus interest, and reimbursement of Litigation Expenses

incurred by Co-Lead Counsel, is fair and reasonable in light of the work performed by Co-Lead

Counsel on behalf of the Class.

       11.     Northeast Carpenters is very pleased with the quality of representation provided by

Co-Lead Counsel. Throughout the course of this Action, Co-Lead Counsel has advocated

zealously on behalf of the Class and overcome many litigation hurdles. We are also mindful that

Co-Lead Counsel litigated this Action on a contingency basis, forgoing any payment unless and

until settlement or judgment was obtained.

       12.     Northeast Carpenters understands that reimbursement of a Lead Plaintiff’s

reasonable costs and expenses is authorized under the PSLRA, 15 U.S.C. § 77z-1(a)(4). For this

reason, Northeast Carpenters seeks reimbursement for the costs and expenses that it incurred

directly relating to its representation of the Class in the Action.

       13.     The time I devoted to the representation of the Class in this Action was time that I

otherwise would have expected to spend on my regular duties on behalf of Northeast Carpenters

and, thus, represented a cost to Northeast Carpenters. Northeast Carpenters seeks reimbursement
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in the amount of $4,103.20 for 20 hours of my time, at a rate of $205.16 per hour. This estimate

is conservative in nature and reflects the minimum hourly cost to Northeast Carpenters for my

services, in light of annual salary and benefits.

       14.     For the foregoing reasons, Northeast Carpenters respectfully requests that the Court

approve in full (a) Lead Plaintiffs’ motion for approval of the proposed Settlement; and (b) Co-

Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses,

and reimbursement of Lead Plaintiffs’ expenses.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct, and that I have authority to execute this Declaration on behalf of the

Northeast Carpenters Annuity Fund.


Dated: September 10, 2021




                                               Ian M. Ruegg
                                               New Jersey Fund Director
                                               Northeast Carpenters Annuity Fund
